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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    COMMISSIONED OFFICERS
    ASSOCIATION OF THE UNITED STATES
    PUBLIC HEALTH SERVICE,

                          Plaintiff,

                   v.                                       Civil Action No. 21-0853 (JDB)

    LONNIE G. BUNCH, III, in his official
    capacity as Secretary of the Smithsonian
    Institution, et al.,

                          Defendants.


                            DEFENDANTS’ MOTION TO DISMISS

         Defendants (i) Lonnie G. Bunch, III, in his official capacity as Secretary of the Smithsonian

Institution (“Smithsonian”); (ii) Machel Monenerkit, 1 in her official capacity as Acting Director

of the Smithsonian Institution’s National Museum of the American Indian (“NMAI”); (iii) and the

United States of America (collectively, “Defendants”), by and through undersigned counsel,

respectfully move to dismiss the Complaint filed by the Commissioned Officers Association of

the United States Public Health Service (“Plaintiff” or the “Association”) pursuant to Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6).

         The Complaint is subject to dismissal as the Association lacks Article III standing to bring

its due process claim. Moreover, the Complaint fails to state a claim upon which relief can be

granted as the Association: (i) has no legitimate claim to a constitutionally protected property

interest that could support a substantive due process claim; and (ii) fails to plausibly allege that it



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      Pursuant to Federal Rule of Civil Procedure 25(d), Acting Director Monenerkit is
automatically substituted for her predecessor, former Director Kevin Gover.
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was deprived of a meaningful opportunity to be heard, a necessary element of any procedural due

process claim. Finally, the controversy is precluded from judicial review by the political question

doctrine.

       In support of this motion, a memorandum of points and authorities is appended hereto. A

proposed order is included herein.


Dated: July 16, 2021                  Respectfully submitted,

                                      CHANNING D. PHILIPS, D.C. Bar No. 415793
                                      Acting United States Attorney

                                      BRIAN P. HUDAK
                                      Acting Chief, Civil Division

                              By:     /s/ Diana V. Valdivia
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